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                                 UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF SOUTH CAROLINA


 IN RE:                                    CASE NO: 19-04171-jw

                                           CHAPTER: 11

 MARC K. KNAPP

                DEBTOR.


                                       STATEMENT OF CHANGE

      The Debtor hereby gives notice as to the substance of the changes included in the attached
amended Petition

AMENDED PETITION

        Question 13 of the Petition is amended from claiming status as a small business debtor to
claiming that debtor is not a small business debtor.


                                                /s/ Marc K. Knapp
                                                Marc K. Knapp, Individually




                                                /s/ F. Miles Adler
                                                F. Miles Adler (Fed ID 9113)
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October 22, 2019
Pawleys Island, South Carolina
